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           EXHIBIT 1
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                                                                                                CIVIL DIVISION
                                                                                                10/27/2023 15:36:26

                                                                                                CL-2023-0015318

                                                                                                  John T. Frey
 VIRGIN IA.:                                                                                 CLERK, CIRCUIT COURl
                                                                                                  FAIRFAX, VA
                     IN THE CIRCUIT COURT FOR FAIRFAX COUNTY

                                              )
 S RGE TRA.1~ SPORT ATION, INC.,              )
                                              )
                       Plaintiff,             )
                                              )
               ,.                             )       Civil Action No. - - - - - - - -
                                             )
 DIRECT CONNECT LOGISTIX,                    )
 INC.,                                       )
 Scrn~: Kelly Gee                            )
        Sccrctar) of the Commonwealth        )
        P.O. Box 1475                        )
        Richmond, VA 23218                   )
                                             )
               and                           )
                                             )
MATTHE\V R. MAY                              )
    5379 Glenview Drive                      )
    Clarence, New York 14031                 )
                                             )
                      Dc&ndanb.              )


                            COMPLAINT FOR PRELIMINARY
                     AND PERMANENT INJUNCTIVE AND OTHER RELIEF

       Plaintiff Surge Transportation, Inc. ("Surge Transportation" or "Plaintiff'), by and through

counsel, brings this complaint for preliminary and pe1manent injunctive and other relief against

Defendants Direct Connect Logistix, Inc. ("Direct Connect") and Matthew R. May ("May," and

together with Direct Connect, "Defendants") and in support thereof states as follows:

                                      INTRODUCTION

       I.     This action arises from the willful and deliberate breaches by Defendants of their

non-solicitation, non-competition, non-disclosure obligations and non-disparagement obligations

to Surge Transportation. Despite these agreements, Defendants have successfully solicited and



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 services at least two Surge Transportation customers. Given Defendants' intentional wrongful

 conduct as described herein and their refusal to acknowledge the enforceability of their promises,

 Surge Transportation fears that Defendants may have solicited other of its customers and may also

 be disparaging Plaintiff to its customers and in the market place. Unless Defendants are

 immediately enjoined by this Court on an interim basis to preserve the status quo, Defendants will

 continue to plunder Surge Transportation's customers, misappropriate its confidential inforn1ation

 and interfere with its customer relations. Absent immediate relief from this Court, Surge

Transportation's efforts to reorganize its business affairs under the United States Bankruptcy Code,

as well as its viability as a going concern, will continue to suffer and Plaintiff will be immediately

and irreparably injured.

                            PARTIES, JURISDICTION AND VENUE

        2.      Plaintiff Surge Transportation is a Florida corporation with its principal place of

business at 7077 Bonneval Road, Jacksonville, Florida. Surge also conducts business out of its

office in Ashburn, Virginia.

        3.      Surge Transportation provides over-land, freight-brokerage services to its

customers nationwide.

        4.      On July 24, 2023, Surge Transportation filed a petition for reorganization under

chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the "Bankruptcy Code")

in the United States Bankruptcy Court for the Middle District of Florida, Jacksonville Division,

commencing Case No. 3 :23-bk-1712-JAB. Surge Transportation continues to operate as a dcbtor-

in-possession pursuant to section I 107 of the Bankruptcy Code and is diligently pursuing a

reorganization of its business affairs.




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Dofendnnt May hns consent ed to venue withi11 this 'omt 1111<1 ht,l'1111s th," ·1111sc:-: 1)1' ut1io1111ll cgou

in the Complaint nroso in Fnil'fox Count y.




    A.         Surge TrnnsportnHon ls forntt•d hy (hnnr Sht~h ns II stnl't•np ,·ompnn)' In 20 I<, to
               provide ovcr-huul fl'IJ.!ht trnnspol'h1tlo11 hrolH'l'IIJ.ti.' s,•1·,1kcs lo his h•,:ncy dlrtict
               truckinJ,! custonuil's.

          9.       Omnr Si11gh is tho founder 1111d prnsidu11t nl' Su,w i Trn11sportnl io11 . l\ for

incorporating Surge Tr11nsport11tiu11 in April ol' )() 16, 1 Si11p.h hnd ow11 d II s111111l c11111p1111y wh ich

itself owned trucks nnd which provided fr ight trn11spmt11tio11 s rvil•t,s dirc;J ·tly to its ·Ii 11ls. 111

2010, Singh liquidntcd his trncking co111p11ny hut m11int11i11od his l 'IISIOIIHll' 1.· l11tin11ships 111 th




1 Surge Trnnsportution wns orig;innlly form od ns n Virgini11 corpnrntio11, hut wns <.lom •sti ·nt d 11s
n Florida corporation in 2019.




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freight-transportation industry, first as a commissioned sales agent for other trucking companies,

and later as a sole-proprietor providing brokerage services to his customers to locate carriers with

capacity to transport freight. Declaration of Omar Singh ("Singh Deel."), ilil 2-4, attached hereto

as Exhibit 1.

         10.      hlitially, Surge Transportation relied on Singh 's long-time customer relationships

as the core of its revenue-producing business. Due, in part, to implementation of a proprietary

marketing and pricing tool developed by Singh and which gave the company a significant

competitive advantage (the "Proprietary Strategy and Pricing Tool"), the company had great

success and grew rapidly. Singh Deel. ,r 5.

    B.         Surge Transportation shares its Confidential Information with Defendant May.

         11.      On or shortly after July 25, 2018, Surge Transportation hired defendant May as

Vice President of Business Development. Surge Transportation intended to and did involve May

in meeting and working with nearly every existing customer and every potential new customer of

the company. Further, it intended to and did share with him the company's customer lists,

prospects, its Proprietary Strategy and Pricing Tool and its other proprietary and confidential

information. Other than Singh and his wife, Tadina Ross, May is the only person at Surge who has

had access to the company's Proprietary Strategy and Pricing Tool. Singh Deel. ii 6.

         12.      Accordingly, to protect the company's interests, Surge Transportation and May

entered into an employment agreement (the "May Employment Agreement"). Singh Deel. ii 7; see

Exhibit A to Singh Deel.

         13.     Pursuant to section 8(e) of the May Employment Agreement, May agreed that "for

a period of two years from the date of Employee's termination of employment, for any reason,

Employee agrees not to become employed by, solicit business from or with, service, or work for



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another in t11e service of, any Business Account qf Surge TrnnRp{H'llltlon, with r up •I It>pmvldl,11{

Competitive Services. Competitive Sorvices shall meun t.rncklng/frelghl brnl, 1·1111i • ,, , vi ' H," S,·,

Singh Deel., Ex. A, § 8(c).

        14.     Under Section 8(d) of the May Employment Agreement., 11Jl11Ml11e1m A Q11n1" 1H   1




defined to mean both existing customers and potential customerR who had con tu ' I d Surg ,

Transportation, had been referred to Surge Transportation, or had been solicited by Surg

Transportation during the six-month period prior to the date of the Employee•Htermination. S('(•

Singh Deel., Ex. 1, § 8(d).

        15.     Throughout his tenure as Vice President of Rusiness Development at Sur •c

Transportation, together with Singh, May was intimately involved in markctin,, and saleH. I le and

Singh were present at every conference Surge Transportation sponsored or attended. May waH

often featured by Surge Transportation as the face of the company for sales events and wa1-1

responsible for, among other things, "closing the deal" to sign on new customers, obtaining

additional work from existing customers and handling the day-to-day relationship with customers.

Singh Deel. if 10.

        16.     May was also introduced to Surge Transportation's legacy customers and

relationships that were established by Singh between 2003 and 2018, and he was encouraged to

develop relationships with these individuals. Singh Deel. ii 11.

       17.     From the time he was hired by Surge Transportation in July 2018 until early in

2020, May participated in approximately 250 in-person customer sales visits throughout the

country. After COVID-19 restrictions eliminated in-person business development meetingi;, May

conducted sales calls via Zoom. Singh Deel. ii 12.




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   C.         Sul'ge Tramsporh1tion slum:s its Coni1dcntinl Informntion with Non-Party John
              Moouoy.

        18.        n or ubout D ·ccmbcr • I, 20 I ,   urge Transportation hired non-party John

Mooney ("Moon •y") us urge Transportation 's Executive Vice President. As with May, Mooney

was provickd access to ur "C Transportation's custorncr lists, prospects and other proprietary and

conlidcntial information. To protect this information and the company's interests, Surge

Transportation and Mooney entered into an employment agreement (the "~ooney Employment

Agreement"). Singh Deel. ii 13; see Exhibit B t.o the Singh Deel.

        19.      In his role as Executive Vice President, Mooney was responsible for new customer

sales, executive talent recruitment, day-to-day operations and personnel management. Singh Deel.



   D.         Surge Transportation shares its Confidential Information with Defendant Direct
              Connect.

        20.      Beginning in about May of 2021, Surge Transportation hired an investment banker

for the purposes, among other things, of allowing Surge Transportation to evaluate the potential

sale of the company. Singh Deel. ii 17.

        21.      Sometime toward the end of 2021, Mooney, knowing ofSingh's interest in selling

the company, introduced Singh to Richard Piontek, Chief Executive Officer of Defendant Direct

Connect which was and is Surge Transportation's direct competitor . Mooney represented that he

had a prior relationship with Piontek and that Direct Connect was interested in a possible

acquisition of Surge Transportation. Singh Deel. ii 18.

        22.      In connection with Direct Connect's interest in acquiring Surge Transportation,

Direct Connect and Surge Transportation entered into a Mutual Confidentiality Agreement dated




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     as of November 10, 2021 (the "Direct Connect MCA"). Singh Deel. ,r 19; see Exhibit C to Singh

     Deel.

              23.     Under this agreement, Surge Transportation intended to, and did, provide its

     confidential information (including information about the company's clients and employees) to

     Direct Connect in furtherance of discussions about a potential future sale of Surge Transportation

     to Direct Connect. Singh Deel. ,r 19.

              24.     Under Section 3 of the Direct Connect MCA, Direct Connect agreed to keep Surge

     Transportation's Confidential Information (as defined) confidential. Singh Deel., Ex. C § 3.

              25.      Section 4 of the Direct Connect MCA prohibits Direct Connect from directly or

     indirectly contacting or soliciting Surge Transportation's customers, clients, suppliers,

     distributors, sales representatives, employees and other business relationships except as in the

     ordinary course of business. Singh Deel., Ex. C § 4.

              26.      Direct Connect also agreed in Section 5 not to directly or indirectly engage,

     employ, solicit or contact with a view to the engagement or employment of, any of Surge

     Transportation's employees, directors, officers, managers, or consultants. Singh Deel., Ex. C § 5.

         E.         Due to changes in the freight transportation brokerage industry, Surge
                    Transportation files for reorganization under the Bankruptcy Code.

              27.     Due to fundamental changes in the freight transportation brokerage industry, Singh

     realized earlier this year that Surge Transportation needed to make changes in its business plan

     and operations. Singh Deel. ,r 23.

              28.     As mentioned above, on July 24, 2023, Surge Transportation filed a petition for

     reorganization under chapter 11 of the Bankruptcy Code and continues to operate as a debtor-in-

     possession. Singh Deel. ,r 23.




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         29.      At or shortly after the bankruptcy filing, Mooney told Singh he intended to retire.

Singh Deel. ,i 25.

         30.      At about the same time, May told Singh that if Surge Transportation was unable to

reorganize, he intended to leave the over-land freight brokerage industry altogether and try

something new. Singh Deel. ,i 26.

         31.      Surge Transportation is a viable entity with substantial market value and is

diligently pursuing efforts to reorganize its affairs and emerge from bankruptcy. Singh Deel. ,i 24.

    F.         Direct Connect and May solicit Surge Transportation client USPS.

         32.      On August 12, 2023, May voluntarily resigned from Surge Transportation. Until

recently, as described more fully below, Surge Transportation was not aware that May was

working for Surge Transportation competitor, Direct Connect. Singh Deel. ii 27.

         33.      On September 2, 2023, Mooney voluntarily resigned from Surge Transportation.

Until recently, as described more fully below, Surge Transportation was not aware that Mooney

was working for Surge Transportation competitor, Direct Connect. Singh Deel. ii 28.

         34.      On September 14, 2023, Surge Transportation learned that it had received a copy

of email correspondence between May (now as an employee of Surge Transportation competitor,

Direct Connect), and Jamesetta Brown, of the United States Postal Service (USPS Transportation

Strategy, Contractor). Singh Deel. iJ 29; see Exhibit D to Singh Deel. This email confirms that May

has successfully solicited the United States Postal Service ("USPS") as a new customer of Direct

Connect. Id.

         35.      USPS is one of Surge Transportation's existing customers that was recruited by

May in his capacity as Surge Transportation's Vice President of Business Development. Singh

Deel. iJ 30.



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        36.     This email also shows that it was sent to Direct Connect president Greg

Hwnrichouser and former Surge Transportation, and current Direct Connect, employee Mooney

(addressed to Mooney, presumably by mistake, at Mooney's old Surge Transportation email

address). Singh Deel. ii 31; see Singh Deel., Ex. D.

       3 7.    Counsel for Surge Transportation subsequently sent cease and desist letters to

Direct Connect, May, and Mooney. Singh Deel. ,i 32; see Exhibits E, F, and G to Singh Deel.

       38.     By letter dated October 2, 2023, counsel for Defendants acknowledged that

Defendants had solicited and serviced Surge Transportation customers USPS and Dollar General

but denied that May and Mooney were bound by their employment agreements with Surge

Transportation. Although counsel purported to represent Direct Connect, he did not acknowledge

the cease and desist letter, Singh Deel. ,i 33.

        39.     In a follow up letter dated October 13, 2023, counsel for Defendants alleged that

Direct Connect had not previously seen the cease and desist letter to it, but summarily denied that

it was bound by the covenants of the Direct Connect MCA, Singh Deel. ,i 34.

       40.      Despite demand, Direct Connect has refused to acknowledge to Surge

Transportation that it will discontinue its contract with USPS or Dollar General in violation of the

Direct Connect MCA. Nor has Direct Connect acknowledged that it has or will terminate the

employment of May or Mooney nor has it acknowledged that it will refrain from further violations

of the Direct Connect MCA or from interference with the Employment Agreements between Surge

Transportation and each of Mooney and May. Singh Deel. ii 34.

       41.     Despite demand, May has refused to acknowledged that he is bound by the

promises of his Employment Agreement and refused to refrain from further violations of the

Employment Agreement or interference with the Direct Connect MCA. Singh Deel. ,i 34.



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       42.     As a result of the misappropriation of Surge Transportation customers by Direct

Connect through the efforts of and with the knowledge and cooperation of May and Direct Connect

president Greg Humrichouser, Surge Transportation is in immediate danger of irreparable injury.

Singh Deel. il 35.

       43.     As a former employee and executives of Surge Transportation, May has critically

important infonnation about Surge Transportation which each has promised to keep confidential.

May has agreed not work for Surge Transportation's competitors to service Surge Transportation's

customers. May has intentionally violated each of these promises. Singh Deel. il 36.

       44.     Under the Direct Connect MCA, Direct Connect promised to keep Surge

Transportation's Confidential Information confidential, refrain from soliciting or servicing Surge

Transportation's clients and refrain from hiring Surge Transportation's employees. Direct Connect

has intentionally violated each of these promises. Singh Deel. il 37.

       45.     The promises made by May and Direct Connect to Surge Transportation were and

still are crucial to preserving the value of Surge Transportation's assets. Singh Deel. il 38.

       46.     The potential loss of and interference with Surge Transportation's customer

relationships is substantial and, because of the intimate knowledge that May, Mooney and Direct

Connect have of Surge Transportation's operations, customer lists and pricing, Surge

Transportation anticipates that such conduct, if not enjoined by this Court, will strip Surge

Transportation of its most valuable assets and prevent it from successfully reorganizing its

operations under the United States Bankruptcy Code. Singh Deel. ii 39.

       47.     If Defendants are not enjoined from further violations of their non-solicitation, non-

competition, non-disparagement and non-disclosure obligations to Surge Transportation,




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Defendants' conduct, as described herein, will contin ue to ca se Pl.a.                Jr.


irreparable injury. Singh Deel. ii 39.

                             COUNT I: BREACH OF CONTRACT
                              (against Defendant Direct Connect)

        48.     Surge Transportation repeats and re-alleges paragraphs I thro gb 4 a

forth herein.

        49.     The Direct Connect MCA is a valid contract under which Direct Co ~eu .-         S ~ge

Transportation have agreed to certain rights and obligations.

        50.     Surge Transportation has performed each of the duties and obliga ions req ·red o

Surge Transportation under the Direct Connect MCA.

        51.     Despite demand, Direct Connect has continued to employ May and \.1oo ey.

        52.     On information and belief, despite demand, Direct Connect has fa i ed to te

its relationship with USPS or Dollar General both of which relationships it obtained hro

prohibited hiring of May and Mooney.

       53.      Direct Connect's continued employment of May and Moone y con titutcs a ma na

breach of the Direct Connect MCA.

       54.      Direct Connect's solicitation of Surge Transportation' s customers and it· fa ilure to

terminate its relationships with USPS and Dollar General constitute material brcache of the Direct

Connect MCA.

       55.      As a direct and proximate cause of Direct Connect 's material breaches Surge

Transportation has sustained and will sustain irreparable injury to Surge Transportation 's

reputation, goodwill, and business for which Surge Transportation has no adequate remedy at law .




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                                  COUNT II: mu:A II OF 'ONTl{A 'T
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                  Sur.._•r Tr 111splH'I 1ti1111 n·p~nts llltd r ·-nil• •cs r,nru rnphs I thru11 gh   as if' fully set



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suppl rt. and 'lHIIPl'llsntion.

        59.      . 'un.!l' Trnnsportntiun hns p ·rl'onn ·d each of the duties and obli 1ations required or

 'ur{!c Trnnsportation undl·r th· May Employment Agreement

        60.      Mn ·s solicitation or Surge Tra11sportatio11's customers on behalf of Direct

Con11l.'ct. i11cludi11c U P • and Oollar            e11cral, constitutes a material breach of the May

Ernployml'.111 Agreement.

        61.      As II dire ·t and proximate cause of May's material breaches Surge Transportation

has and ·will sustain irreparable injury to Surge Transportation's reputation, goodwill, and business

for which Surge Transportation has 110 adequate remedy at law, which May affirmatively agreed

in the May Employment Agreement.

                             COUNT IV: TORTIOUS INTERFl~IU~NCE
                                        WITH CONTRACTS
                                (ag~1inst Dcfcndnnf· Direct Connect)

        62.      Surge Transportation repeats and re-alleges paragraphs I through 61 as if fully set

forth herein.

       63.       Surge Transportation had valid contractual relationships with May and Mooney

under the May Employment Agreement and the Mooney Employment Agreement, respectively.

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 '01111l' ·t Im ·w thnt May a11d Moom.;y hud H111ploy111<.:11t A8rccmc11tNwith Surge TninNportation.

        (1   .   'l'hrou8h th· 111isuppropriatio11 a11d 111is11sc of Surge Trnnsportution 's information,

l>in; ·1 <'011nc ·t inl c11lio1111lly i11t ·rlcn;d wilh Surge Tram1porlalio11'N rclatiom;hips with May tind

Moo1wy, ·m1sin8 cad, or May and Mooney to breach and/or terminate the May Employment

t\ ~rcl·n1cnt and llrn Mooney l•:111ploy111e11t /\grecme11t, n:spcctively. Among other things, Direct

C'o1rncd i11du ·cd or c1111scd May to solicit Smge Transportation customers, specifically including

hut nol li111i1cd tu, USPS and Dollar General, in violation of May's obligations under the May

I\mploy1m:nt /\ •rccmcnt and induced or caused May and Mooney to use or disclose Surge

Transportation's confidential information to Direct Connect.

        66.      /\s a direct and proximate cause of Direct Connect's actions, Surge Transportation

has and will sustain irreparable harm and loss and has sustained damages, including but not limited

to, the loss of valuable business relationships, loss of the opportunity to obtain and/or retain

valuable business relationships, loss of profits and future profits, loss of reputation, and loss of

goodwill.

        67.      Unless enjoined and restrained by Order of this Court, Direct Connect's wrongful

conducl will continue to cause severe and irreparable injury to Surge Transportation's reputation,

goodwill , and business for which Surge Transportation has no adequate remedy at law.

                            COUNT V: TORTIOUS INTERFERENCE
                                    WITH CONTRACTS
                                  (against Defendant May)

        68.      Surge Transportation repeats and re-alleges paragraphs I. through 67 as if fully set

forth herein.




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       69.      Surge Transportation had valid contractual relationships with Direct Connect and

Mooney under the Direct Connect MCA and the Mooney Employment Agreement, respectively.

       70.      As a result of his employment with Surge Transportation, May had knowledge of

Surge Transportation' s contractual relationships with Direct Connect and Mooney.

       71.      Through the misappropriation and misuse of Surge Transportation's information,

May intentionally interfered with Surge Transportation's contractual relationship with Direct

Connect, causing Direct Connect to breach the Direct Connect MCA by, among other things,

inducing or causing Direct Connect to solicit or service Surge Transportation's clients and hire

Surge Transportation's employees.

        72.     May has also intentionally interfered with Surge Transportation' s relationship with

Mooney, causing Mooney to breach and terminate the Mooney Employment Agreement.

        73.     As a direct and proximate cause of May's actions, Surge Transportation has and

will sustain irreparable harm and loss and has sustained damages, including but not limited to, the

loss of valuable business relationships, loss of the opportunity to obtain and/or retain valuable

business relationships, loss of profits and future profits, loss of reputation, and loss of goodwill.

Unless enjoined and restrained by Order of this Court, May's wrongful conduct will continue to

cause severe and irreparable injury to Surge Transportation's reputation, goodwill, and business

for which Surge Transportation has no adequate remedy at law.

                     COUNT V: CRIMINAL BUSINESS CONSPIRACY
                       (against Defendants Direct Connect and May)

       74.      Surge Transportation repeats and re-alleges paragraphs l through73 as if fully set

forth herein.

       75.      In violation of Va. Code§ 18.2-499, et seq., Direct Connect and May, prior to his

employment with Direct Connect, combined, associated, agreed, mutually undertook or concerted

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together for the purposes of willfully and maliciously injuring Surge Transportation in its trade,

business or profession. Among other things, they agreed and combined to injure Surge

Transportation's business by: (1) breaching Direct Connect's contractual duties not to hire

employees of Surge Transportation, (2) breaching May's contractual duties not to use or disclose

Surge Transportation's confidential infonuation; and (3) tortiously interfering with Surge

Transportation's contractual relationship with Mooney. In doing so, Direct Connect and May acted

intentionally, purposefully and without lawful justification.

       76.           As a direct and proximate cause of Direct Connect and May's unlawful conspiracy,

Surge Transportation has and will sustain irreparable harm and loss and has sustained damages,

including but not limited to, the loss of valuable business relationships, loss of the opportunity to

obtain and/or retain valuable business relationships, loss of profits and future profits, loss of

reputation, and loss of goodwill.

       77.           Unless enjoined and restrained by Order of this Court, Defendants' wrongful

conduct will continue to cause severe and irreparable injury to Surge Transportation's reputation,

goodwill, and business for which Surge Transportation has no adequate remedy at law.

                                        PRAYER FOR RELIEF

       WHEREFORE, Surge Transportation, Inc. respectfully requests that this Court:

       I.        Enter temporary and preliminary injunctive relief:

            a.         Prohibiting Direct Connect from continuing to employ May and Mooney;

            b.         Prohibiting Direct Connect and May from doing business with USPS or with

                       any other of Surge Transportation's clients in violation of the Direct Connect

                       MCA and the May Employment Agreement;




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        c.      Prohibiting Direct Connect from employing any other employee of Surge

                Transportation and from contacting or soliciting any other Surge Transportation

                customer;

        d.      Prohibiting May from soliciting any other Surge Transportation client on behalf

                of Direct Connect;

        e.      Prohibiting Direct     Connect and       May from       interfering with        Surge

                Transportation's efforts to reorganize under the United States Bankruptcy Code;

        f.      Prohibiting Direct Connect and May from disparaging Surge Transportation;

                and

        g.      Prohibiting May from using or disclosing Surge Transportation Confidential

                Information;

   2.        Enter a final judgment in favor of Surge Transportation and against Defendants,

             jointly and severally, for compensatory damages including lost profits, in the

             amount of $50 million;

   3.        Enter a final judgement in favor of Surge Transportation and against Defendants,

             jointly and severally, trebling damages as provided in Va. Code§ 18.2-500 B. and

             awarding the costs of suit, including a reasonable fee to plaintiffs counsel; and

   4.        Enter a final judgment in favor of Surge Transportation and against Defendants,

             jointly and severally, for other and further relief as this Court deems just and

             proper.




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Date: October 27, 2023                     SURGE TRANSPORTATION, INC.


                                           By:    Isl Wavne G. Travel/
                                           Wayne G. Travell, Esq. (VSB No. 22400)
                                           Allison P. Klena, Esq. (VSB No. 96400)
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